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UNITED STATES DISTRICT COURT fo gy
NORTHERN DISTRICT OF CALIFORNIA Mp 4° gh
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JUDGE: VINCE CHHABRIA Case No. 16-CV-525-VE 8.
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CASE NAME: Edwin Hardeman v. Monsanto Company, et al. “Oy,

 

Remember that you are not to tell anyone — including the Court or the Courtroom Deputy
— how the jury stands, whether in terms of vote count or otherwise, until after you have
reached a unanimous verdict or been discharged.

NOTE FROM THE JURY

Note No. |

Date 2/2 tA
QAO P.cr-

 

 

Time

 

1. The Jury has reached a unanimous verdict PX) _
or

2. The Jury has the following question:

 

 

 

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Foreperson of the Jury
